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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                                                      FILED
                                                                                     SEP 29 2020
JEFFREY R. SIMS,                              )                                  Clerk, U.S. District & Bankruptcy
                                              )                                  Court for the District of Columbia
       Plaintiff,                             )
                                              )
               v.                             )       Civil Action No. 1:20-cv-02449 (UNA)
                                              )
DEPARTMENT OF                                 )
VETERANS AFFAIRS,                             )
                                              )
       Defendant.                             )
                                              )


                                  MEMORANDUM OPINION

       This matter is before the Court on plaintiff’s pro se complaint and application for leave to

proceed in forma pauperis (“IFP”). The Court will grant the application for leave to proceed IFP

and dismiss the complaint for lack of subject matter jurisdiction. See Fed. R. Civ. P. 12(h)(3)

(requiring the court to dismiss an action “at any time” it determines that subject matter jurisdiction

is wanting).

       Plaintiff, a resident of Pueblo, Colorado, sues the Department of Veterans Affairs.            He

alleges that defendant has withheld reimbursement for certain medical expenses, which plaintiff

and his caretaker have been forced to unfairly to pay out of pocket. He believes that the refusal to

reimburse is derived from discriminatory purpose. He requests special and punitive damages.

       Challenges to decisions “affecting the provision of veterans’ benefits” are generally the

exclusive province of the Court of Veterans Appeals and the United States Court of Appeals for

the Federal Circuit. Price v. United States, 228 F.3d 420, 421 (D.C. Cir. 2000) (per curiam);

accord Hunt v. U.S. Dep’t of Veterans Affairs, 739 F.3d 706, 707 (D.C. Cir. 2014) (per curiam)

(citing 38 U.S.C. § 511(a)); Thomas v. Principi, 394 F.3d 970, 975 (D.C. Cir. 2005). “Benefit
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means any payment, service, commodity, function, or status, entitlement to which is determined

under laws administered by the Department of Veterans Affairs pertaining to veterans and their

dependents and survivors.” 38 C.F.R. § 20.3(e).

       Therefore, this Court lacks “subject matter jurisdiction over the complaint.” Price, 228

F.3d at 421 (citing 38 U.S.C. § 511(a)); see id. at 422 (“[C]ourts have consistently held that a

federal district court may not entertain constitutional or statutory claims whose resolution would

require the court to intrude upon the VA’s exclusive jurisdiction.”) (citing cases)); see also

Thomas, 394 F.3d at 975 (“Because adjudicating . . . allegations [of] failure to render appropriate

medical services and denial of . . . necessary medical care treatment would require the district court

to determine first whether the VA acted properly in providing . . . benefits, [such] claims are barred

by section 511.”) (internal quotation marks and omitted).

       For these reasons, the action will be dismissed without prejudice. A separate order

accompanies this memorandum opinion.

Date: September 29, 2020                            ____/s/________________
                                                    RUDOLPH CONTRERAS
                                                    United States District Judge
